      Case 2:20-cv-00470-GMS Document 191 Filed 04/07/22 Page 1 of 2



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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9   Meta Platforms, Inc., et al.,                      No. CV-20-00470-PHX-GMS
10                   Plaintiffs,                        ORDER
11   v.
12   Namecheap Incorporated, et al.,
13                   Defendants.
14
15   WhoisGuard, Inc.,
16                   Counterclaimant,
17   v.
18   Meta Platforms, Inc.,
19                   Counterclaim Defendant.
20
21
22           Before the Court is a Stipulation to Extend the Deadline for a Stipulation to Dismiss
23   (First Request) (Doc. 190). Good cause appearing,
24           IT IS HEREBY ORDERED granting the Stipulation (Doc. 190).
25           IT IS FURTHER ORDERED that this matter will, without further Order of this
26   Court, be dismissed with prejudice unless a stipulation to dismiss is filed on or before April
27   22, 2022. There will be no further extension.
28   / / /
      Case 2:20-cv-00470-GMS Document 191 Filed 04/07/22 Page 2 of 2



 1          IT IS FURTHER ORDERED directing the Clerk of Court to terminate this matter
 2   on April 25, 2022 without further leave of Court unless a stipulation to dismiss is filed
 3   prior to the dismissal date.
 4          Dated this 7th day of April, 2022.
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